                       UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION

HARRY A. SCHEINA, III,                 )
                                       )
                           Plaintiff,  )
                                       )
      vs.                              )        Case No. 18-03210-CV-S-BP
                                       )
JAMES SIGMAN,                          )
                                       )
                           Defendants. )

                      NOTICE OF CHANGE OF FIRM NAME

      The firm of Keck & Austin, L.L.C. advises the Court and counsel of a change of

the firm’s name and email address effective December 1, 2018 as follows:

                     Keck, Phillips & Wilson, LLC
                     Email: matt@kpwlawfirm.com

      The address, phone number and fax number will remain the same as follows:

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                     Phone: 417-890-8989
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                                             Respectfully submitted,

                                             KECK & AUSTIN, LLC

                                             By /s/ Matthew D. Wilson
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                            CERTIFICATE OF MAILING

       The undersigned hereby certifies that a true and accurate copy of the foregoing was
sent via ECF this 28th day of November, 2018 to:

Christopher J. Swatosh
Law Offices of Christopher J. Swatosh, LLC
200 E. Washington
PO Box 190
Ava, MO 65608

                                                /s/ Matthew D. Wilson
                                                Matthew D. Wilson




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